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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO.:    2:16cv14413

              TAVARES DOCHER, by and through
              JANICE DOCHER-NEELEY, his mother
              and legal guardian,
                                 Plaintiff,
              vs.
              CHRISTOPHER NEWMAN,
              individually; CLAYTON MANGRUM,
              individually; CALVIN ROBINSON,
              individually; WADE COURTEMANCHE,
              individually; KEN J. MASCARA, as
              SHERIFF of ST. LUCIE COUNTY,
              Florida; JOSE ROSARIO,
              individually; and the ST. LUCIE
              COUNTY FIRE DISTRICT, an
              independent special district,

                             Defendants.
              ________________________________/


                                       DEPOSITION OF
                                 CHRISTOPHER ERIK NEWMAN

                                        VOLUME 1
                                   Pages 1 through 76

                                 Wednesday, May 31, 2017
                                 10:00 a.m. - 11:43 a.m.

                                   Phipps Reporting
                           1680 Southwest Bayshore Boulevard
                            Port St. Lucie, Florida 34984

                             Stenographically Reported By:
                           Patricia A. Lanosa, RPR, FPR, CSR


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         1    The following proceedings began at 10:00 a.m.:
         2                 THE COURT REPORTER:       Would you raise your
         3          right hand, please?
         4                 Do you solemnly swear that the testimony
         5          you shall give today will be the truth, the
         6          whole truth, and nothing but the truth?
         7                 THE WITNESS:     I swear.
         8                      CHRISTOPHER ERIK NEWMAN,
         9    having been first duly sworn or affirmed, was
        10    examined and testified as follows:
        11                         DIRECT EXAMINATION
        12       BY MR. HECHT:
        13          Q.     Could you please state your full name?
        14          A.     Christopher Erik Newman.
        15          Q.     What's your date of birth?
        16                 MS. BARRANCO:     Hold on.     Can we do that
        17          off the record for confidentiality purposes?
        18                 MR. HECHT:     That's fine.
        19                 (Discussion off the record.)
        20       BY MR. HECHT:
        21          Q.     Currently where do you reside?         And I
        22    don't need your exact address, just the city.
        23          A.
        24          Q.     Who is your current employer?
        25          A.     St. Lucie County Sheriff's Office.


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         1          Q.     How long have you been employed by the
         2    St. Lucie County Sheriff's Office?
         3          A.     Coming up on four years.
         4          Q.     Currently what is your position at the
         5    St. Lucie County Sheriff's Office?
         6          A.     I'm currently a detective in the criminal
         7    investigations division.
         8          Q.     How long have you held that title and
         9    position for?
        10          A.     I've held that title since November 15th
        11    of last year.
        12          Q.     Prior to being a detective, what was your
        13    position at the St. Lucie County Sheriff's Office?
        14          A.     Right before I made detective,
        15    from June to November I was on the St. Lucie County
        16    Sheriff's Office's -- they call it a Star Team --
        17    which basically does the summer details.
        18          Q.     The summer details?
        19          A.     It's like just an enforcement; we help
        20    with traffic, assist with the traffic unit.             Or if
        21    they're having a bunch of burglaries, we go and
        22    watch the neighborhood for burglaries.
        23          Q.     And you said "June to November."          What
        24    year was that?
        25          A.     That was also 2016.


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         1          Q.     And prior to that position, what was
         2    your --
         3          A.     I was a road patrol deputy.
         4          Q.     Is it correct to say when you initially
         5    began your employment at St. Lucie County Sheriff's
         6    Office, you were a road patrol deputy up
         7    until June of 2016 when you became part of the Star
         8    Team?
         9          A.     Yes, sir.
        10          Q.     After the Star Team you became a
        11    detective.
        12          A.     Yes, sir.
        13          Q.     Are those the three positions that you've
        14    held during the four years at St. Lucie County
        15    Sheriff's Office?
        16          A.     Yes, sir.
        17          Q.     And in May of 2014 were you a road patrol
        18    deputy?
        19          A.     Yes, sir, I was.
        20          Q.     Prior to joining the St. Lucie County
        21    Sheriff's Office in approximately 2012 -- where did
        22    you work before the St. Lucie County Sheriff's
        23    Office?
        24          A.     Well, to start with, in 1999 to 2009 I
        25    worked for the Fort Pierce Police Department.              And


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         1    then from 2009 until I started with the St. Lucie
         2    County Sheriff's Office, I worked for the Florida
         3    Division of Alcoholic Beverages and Tobacco.
         4          Q.     Prior to working at the Fort Pierce Police
         5    Department, did you have any other experience as
         6    part of law enforcement?
         7          A.     No, sir.
         8          Q.     What year did you graduate high school?
         9          A.     '91.
        10          Q.     Where did you graduate high school?
        11          A.     Lincoln Park Academy.
        12          Q.     Is that in Fort Pierce?
        13          A.     It's in Fort Pierce.
        14          Q.     What did you do after high school?
        15          A.     For a while I was a mechanic.         And then I
        16    worked for -- at the time it was TCI Cable
        17    Division -- prior to going into the academy in '98.
        18          Q.     Where did you work as a mechanic?
        19          A.     I worked at my dad's business.
        20          Q.     What was that called?
        21          A.     It was called Newman Sons.
        22          Q.     And then the cable division company, what
        23    sort of work did you do?
        24          A.     I started off as an installation
        25    technician.     And then by the time I left, I was a


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         1    service technician where I was responsible for the
         2    main cable lines.
         3           Q.    How long were you -- how long did you work
         4    at your dad's mechanic shop for?
         5           A.    I want to say two years.
         6           Q.    How long did you work at the cable company
         7    for?
         8           A.    Probably five and a half, six years,
         9    before I went to the academy in '98.
        10           Q.    Where did you go to the academy?
        11           A.    At -- in Indian River County -- sorry --
        12    St. Lucie County, Indian River Academy at the time
        13    is what it was called.
        14           Q.    That's a six-month academy.
        15           A.    I believe it was.      I started in October of
        16    '98, and I graduated from March of '99.
        17           Q.    Did you go to any sort of college
        18    university ever?
        19           A.    No, sir.
        20           Q.    Were you ever in the military?
        21           A.    No, sir.
        22           Q.    After graduating the academy, you began
        23    working for the Fort Pierce Police Department?
        24           A.    Yes, sir.
        25           Q.    And you worked there for 10, 11 years?


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         1          A.     Yes, sir, about 10 -- a little over
         2    10 1/2.
         3          Q.     What was your position at the Fort Pierce
         4    Police Department?
         5          A.     I started off as a road patrol officer.             I
         6    did that for just under two years.           And then I was a
         7    detective in special operations, which is basically,
         8    like, gangs, drugs, vice crimes.          I did that for
         9    just under eight years.        And that position when I
        10    left, I was the training officer.
        11          Q.     When you say, "the training officer," tell
        12    me what that means.
        13          A.     I was responsible for coordinating the
        14    training and putting together the trainings for the
        15    officers to keep the certification with FDLE.              Was
        16    responsible for tracking FDLE certifications
        17    involving the officers, and making sure all the
        18    requirements were still certified.
        19          Q.     Why did you leave the Fort Pierce Police
        20    Department?
        21          A.     Pay and hours.
        22          Q.     And when you say, "pay and hours," I'm
        23    assuming you were being paid too little and working
        24    too much.
        25          A.     Yes.


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        1                 MS. BARRANCO:     It's always that combo,
        2          huh?
        3       BY MR. HECHT:
        4          Q.     Did you have an interest in working at
        5    Florida Division of Alcohol (sic) and Tobacco?
        6          A.     Yes, sir.
        7          Q.     How long did you work there for?
        8          A.     About four and a half years.
        9          Q.     And what did you do after the Florida
       10    Division of Alcohol and Tobacco?
       11          A.     I started off as a special agent with the
       12    State of Florida, and my job was to investigate tax
       13    evasion, alcohol violations.         Any kind of crime that
       14    happened at any licensed business to sell alcohol,
       15    tobacco, which included drugs, prostitution.
       16          Q.     Is the Florida Division of Alcohol and
       17    Tobacco different than ATF?
       18          A.     ATF is federal.      Florida is statewide.
       19          Q.     Florida took out the firearms part?
       20          A.     Yes.
       21          Q.     All right.     I understand.
       22                 Why is it you left Florida Division of
       23    Alcohol and Tobacco?
       24          A.     I was having to travel a lot because you
       25    work for the state.       One day you would be in Miami,


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        1    and two days later you would have to report to
        2    Tallahassee or Pensacola, Jacksonville, Tampa.              I
        3    had a young daughter, and I didn't like being away
        4    that much.
        5          Q.     So did you leave the Fort Pierce Police
        6    Department, as well as the Florida Division of
        7    Alcohol and Tobacco on your own terms?
        8          A.     Yes.
        9          Q.     You were not fired?
       10          A.     No.
       11          Q.     You were not asked to leave?
       12          A.     No.
       13          Q.     During the training that you received at
       14    the police academy, as well as the Fort Pierce
       15    Police Department, did you receive training in the
       16    use of force?
       17          A.     Yes, sir.
       18          Q.     Did you receive training on what's known
       19    as excited delirium?
       20          A.     Not at the academy.       I believe when I went
       21    through the academy back then, I don't really think
       22    that was really highly talked about.           That was a
       23    long time ago.
       24          Q.     What about when you went to the Fort
       25    Pierce Police Department?         Did they train you on


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        1    excited delirium?
        2          A.     I want to say probably near the end of my
        3    career at Fort Pierce, that's when that term started
        4    coming out.
        5          Q.     Did you receive training on excited
        6    delirium when you joined the St. Lucie County
        7    Sheriff's Office?
        8          A.     Yes.
        9          Q.     And did you receive training when you
       10    joined the St. Lucie County Sheriff's Office on use
       11    of force?
       12          A.     Yes.
       13          Q.     During your entire law enforcement career,
       14    have you ever been educated on the term physiology
       15    of a struggle?
       16          A.     Maybe not under that term.
       17          Q.     During your entire law enforcement career,
       18    have you been trained on how to restrain an
       19    individual that is going to be placed under arrest?
       20          A.     Yes.
       21          Q.     And during your training as a law
       22    enforcement officer, have you been trained in how to
       23    properly keep an individual safe once they're
       24    handcuffed and struggling with officers?
       25                 MS. BARRANCO:     Object to the form.       Go


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        1          ahead.    I'm just objecting to the form of the
        2          question.     You could answer it.
        3          A.     Well, I would like to say yes, but every
        4    instance is different.
        5       BY MR. HECHT:
        6          Q.     I understand that.      But I'm just wanting
        7    to know if during your training, experience at the
        8    St. Lucie County Sheriff's Office, or your time at
        9    the Fort Pierce Police Department, if you received
       10    training on how to handle an individual that is
       11    placed under arrest in handcuffs, yet continuing to
       12    struggle with officers.
       13          A.     Yes, we did do some training on that.
       14          Q.     Tell me about that training that you're
       15    referring to.
       16          A.     When I came to St. Lucie County Sheriff's
       17    Office, one of the things that we train on is -- and
       18    this is for in the back seat of a vehicle -- is
       19    the -- they call it -- I don't know what they call
       20    it.   It's just a leg restraint rope that they used.
       21    It's a nylon rope that we have that they issue to
       22    everybody.     That when somebody is kicking out your
       23    back window, or something like that.           We go through
       24    a procedure where another deputy is with you, and
       25    you basically put the rope -- you fasten the person


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        1    seat belted in the back seat.          You take the rope and
        2    it pulls their feet together, and you basically put
        3    it out the door, and then into your door so you
        4    could hold their feet while you're driving.
        5          Q.     And during your time at the St. Lucie
        6    County Sheriff's Office, do officers have this leg
        7    restraint in their vehicle at all times?
        8          A.     Some do, yes.
        9          Q.     In May of 2014 did you have this -- strike
       10    that.
       11                 In May of 2014 did you have this leg
       12    restraint device in your vehicle?
       13          A.     They issued it, yes, I did.
       14          Q.     Do you know if Deputy -- strike that.
       15                 Anytime during your employment at the Fort
       16    Pierce Police Department, are you aware of anyone
       17    ever made any accusations against you that you were
       18    racially biased in the way in which you interacted
       19    with individuals?
       20          A.     I believe I had one complaint back when I
       21    first started in '99, when I arrested somebody.              I
       22    don't believe it ever went to an investigation.              A
       23    supervisory inquiry was done, and it was found to be
       24    false.
       25          Q.     During your time at the Fort Pierce Police


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        1    Department, did you have any excessive force
        2    complaints lobbied against you during the time that
        3    you were working at the Fort Pierce Police
        4    Department?
        5          A.     Not that I'm aware of.
        6          Q.     During the time that you've been employed
        7    by the St. Lucie County Sheriff's Office, has anyone
        8    made any accusations against you that you were
        9    racially biased in your interactions with
       10    individuals?
       11          A.     Not that I'm aware of.
       12          Q.     During the time that you've been employed
       13    by the St. Lucie County Sheriff's Office, have you
       14    had any excessive force complaints lobbied against
       15    you during your employment at the St. Lucie County
       16    Sheriff's Office?
       17          A.     Not that I know of.       I've never been
       18    contacted by IA for anything like that.
       19          Q.     There was an incident that you were
       20    involved in in 2014 where a man was opening or
       21    closing his garage and you shot him.           Do you recall
       22    that incident?
       23          A.     Yeah.   I recall he had a gun, too.
       24          Q.     And was there an internal affairs
       25    investigation regarding that incident?


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        1           A.    I imagine there would be.        I never gave a
        2    statement directly to internal affairs.            I was doing
        3    everything through the criminal side.
        4           Q.    Do you know what the outcome of that IA
        5    investigation was regarding you?
        6           A.    I'm going to assume I was cleared because
        7    I never received any discipline or anything.
        8           Q.    I was just going to ask you that.          Were
        9    you sanctioned or disciplined in any way as a result
       10    of that incident?
       11           A.    No, sir.
       12           Q.    And the man that you shot, his name was
       13    Mr. Hill; is that correct?
       14           A.    Yes, sir.
       15           Q.    During your time at the Fort Pierce Police
       16    Department, or St. Lucie County Sheriff's Office, or
       17    the Florida Division of Alcohol and Tobacco, have
       18    you ever been disciplined or sanctioned in any way
       19    regarding your use of excessive force?
       20           A.    No.
       21           Q.    The incident involving Mr. Hill, were you
       22    sued in that case?
       23           A.    Yes, I was.
       24           Q.    Do you know what the outcome of that case
       25    was?


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        1          A.     It's still pending.
        2          Q.     Based on all the training that you've gone
        3    through during your career as a law enforcement
        4    officer, would you agree with me that an elbow
        5    strike to a person's temple is classified as deadly
        6    force?
        7                 MS. BARRANCO:     Object to the form.       Go
        8          ahead.
        9          A.     No, sir, I would not.
       10       BY MR. HECHT:
       11          Q.     Would you agree with me that based on your
       12    training and experience as a law enforcement
       13    officer, that an elbow strike to a person's temple
       14    is likely to cause great bodily harm?
       15                 MS. BARRANCO:     Object to the form.       Go
       16          ahead.
       17          A.     No, sir, I would not agree.
       18       BY MR. HECHT:
       19          Q.     Would you agree with me that based on your
       20    training and experience as a law enforcement officer
       21    that an elbow strike to a person's head is
       22    classified as deadly force?
       23          A.     No, sir, I would not.
       24                 MS. BARRANCO:     Object to the form.
       25       BY MR. HECHT:


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        1          Q.     Would you agree with me, based upon all of
        2    your training and experience as a law enforcement
        3    officer, that an elbow strike to a person's head is
        4    likely to cause great bodily harm?
        5                 MS. BARRANCO:     Object to the form.
        6          A.     No, I would not agree.
        7       BY MR. HECHT:
        8          Q.     Would you agree with me based on all of
        9    your training and experience as a law enforcement
       10    officer, that striking a person with your elbow on
       11    the side of their jaw is likely to cause great
       12    bodily harm?
       13                 MS. BARRANCO:     Object to the form.
       14          A.     No, sir, I would not.
       15       BY MR. HECHT:
       16          Q.     Would you agree with me that based upon
       17    your training and experience as a law enforcement
       18    officer, that striking an individual with your elbow
       19    on the side of their jaw is classified as using
       20    deadly force?
       21          A.     No, sir.
       22                 MS. BARRANCO:     Object to the form.
       23          A.     I would not agree.
       24       BY MR. HECHT:
       25          Q.     Would you agree with me that based upon


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        1    all of your training and experience as a law
        2    enforcement officer, that striking a person with
        3    your elbow on the bridge of their nose is likely to
        4    cause great bodily harm?
        5                 MS. BARRANCO:     Object to the form.
        6          A.     I would not agree.
        7       BY MR. HECHT:
        8          Q.     Would you agree with me that based upon
        9    all of your training and experience as a law
       10    enforcement officer, that striking a person with
       11    your elbow on the bridge of their nose is classified
       12    as using deadly force?
       13                 MS. BARRANCO:     Object to the form.
       14          A.     I would not agree.
       15       BY MR. HECHT:
       16          Q.     Would you agree with me that based upon
       17    all your training and experience as a law
       18    enforcement officer, that striking a person with
       19    your elbow on their throat is likely to cause great
       20    bodily harm?
       21                 MS. BARRANCO:     Object to the form.
       22          A.     To the throat, yes.
       23       BY MR. HECHT:
       24          Q.     Would you agree with me that based upon
       25    all of your training and experience as a law


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        1    enforcement officer, that striking a person with
        2    your elbow on their throat is classified as using
        3    deadly force?
        4                 MS. BARRANCO:     Object to the form.
        5          A.     Yes, any kind of strike to the throat is
        6    deadly force.
        7       BY MR. HECHT:
        8          Q.     Would you agree with me that based upon
        9    all of your training and experience as a law
       10    enforcement officer, that striking a person with
       11    your elbow in the back of their head is likely to
       12    cause great bodily harm?
       13                 MS. BARRANCO:     Object to the form.
       14          A.     It depends on where you're talking about
       15    to the back of the head.
       16       BY MR. HECHT:
       17          Q.     Would you mind telling me where on the
       18    head, if you were to strike someone with your elbow,
       19    that would be classified --
       20          A.     Well --
       21                 MS. BARRANCO:     Hold on.
       22       BY MR. HECHT:
       23          Q.     Let me ask the question again.
       24                 Would you mind telling me if you were to
       25    strike an individual with your elbow on their head,


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        1    where on their head would that be likely to cause
        2    great bodily harm?
        3                 MS. BARRANCO:     Object to the form.       Go
        4          ahead.
        5          A.     To the back of the head where your skull
        6    meets your neck definitely would cause harm.
        7       BY MR. HECHT:
        8          Q.     Would it cause great bodily harm?
        9          A.     If enough force is applied to the back
       10    where the neck and head meet, yes.
       11          Q.     And would you agree with me based upon
       12    your training and experience that if you struck
       13    someone with your elbow in the back of their head
       14    that that would be classified as using deadly force?
       15                 MS. BARRANCO:     Object to the form.
       16          A.     If struck in the area where the head meets
       17    the neck.
       18       BY MR. HECHT:
       19          Q.     Then that would be classified as using
       20    deadly force?
       21          A.     Yes, sir, I would agree to that.
       22          Q.     Do you know what a thumb strike is?
       23          A.     Not by that term, no, sir.
       24          Q.     You've never been trained during your
       25    career as a law enforcement officer as to what a


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        1    thumb strike is?
        2                 MS. BARRANCO:     Object to the form.       Go
        3          ahead.
        4          A.     I have never heard that term before, sir.
        5       BY MR. HECHT:
        6          Q.     Have you ever used your thumb in order to
        7    gain control of an individual during a struggle?
        8          A.     My thumb?
        9          Q.     Yes.
       10          A.     No, I have not.
       11          Q.     According to the St. Lucie County
       12    Sheriff's Office report during the interaction that
       13    you had with my client, Tavares Docher, you applied
       14    your right thumb to the nerve mass in Tavares
       15    Docher's neck.
       16          A.     That's a pressure point.        I'm sorry,
       17    that's just a different term from thumb strike.
       18    Using your thumb on a pressure point, yes, we train
       19    on that all the time.
       20          Q.     And what do you call that?
       21          A.     Pressure point.
       22          Q.     And where were you trained to give
       23    pressure points in the neck?
       24          A.     Actually, from the academy all the way up
       25    until now.


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        1          Q.     And my specific question is:         Where
        2    physically on the neck are you trained to give a
        3    pressure point using your thumb?
        4          A.     The area we train, the two areas that are
        5    on the neck, this one is called the hollow behind
        6    the ear; where your jaw meets the ear, there is a
        7    divot -- indentation in your jaw.
        8                 And the other one is underneath your jaw
        9    kind of where -- I don't know if you could tell with
       10    this -- where your throat meets your jaw there is
       11    another hollow on the bone.         On the inside of your
       12    jawbone, that's another pressure point.
       13          Q.     Those two pressure point areas that you
       14    were trained to use your thumb and apply pressure to
       15    the nerve in those areas, would you classify that
       16    technique as using deadly force?
       17          A.     No, sir.
       18          Q.     Would you classify the pressure points
       19    that you just described using your thumb to apply
       20    pressure to the nerve as likely to cause great
       21    bodily harm to an individual?
       22          A.     No, sir.
       23          Q.     During your career as a law enforcement
       24    officer, have you ever been an instructor -- strike
       25    that.


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        1                 During your time as a law enforcement
        2    officer, have you ever instructed other officers as
        3    to what excited delirium is?
        4          A.     I have not conducted a class for other
        5    officers, no.
        6          Q.     Have you conducted a course for anyone?
        7          A.     No, sir.    I did get a certificate to
        8    instruct excited delirium, but I have not
        9    instructed.
       10          Q.     When did you -- did you get a certificate
       11    for that?
       12          A.     Yes, sir.
       13          Q.     When did you receive a certificate to
       14    teach excited delirium?
       15          A.     I was with the Florida Division of
       16    Alcoholic Beverages and Tobacco.          It would have been
       17    the October prior to the year I joined the St. Lucie
       18    County Sheriff's Office.        So maybe October of 2012.
       19    I would have to look at my training file to be sure.
       20          Q.     And how long did that course last for, for
       21    you to become certified?
       22          A.     That was the instructor symposium.          I
       23    think it was an eight-hour class.           Again, I have to
       24    look at my files to be sure.
       25          Q.     And during those eight hours where you


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        1    became certified as an instructor on excited
        2    delirium, what was taught to you?
        3           A.    Signs, symptoms, physiology of excited
        4    delirium.
        5           Q.    Why is it you received this certification
        6    to teach excited delirium that you never actually
        7    have taught it?
        8           A.    No one's asked me to.
        9           Q.    Are you still certified to teach excited
       10    delirium?
       11           A.    As far as I know, yes, sir.         I don't know
       12    -- like I said, I have to look at my certificate.              I
       13    don't believe there is a time limit on the
       14    certification.
       15           Q.    Based on your training and experience,
       16    would you please share with me the signs and
       17    symptoms of someone experiencing excited delirium?
       18           A.    It would be an accelerated heart rate.
       19    Usually somebody that cannot sit still.            Incoherent
       20    speech.     Profuse sweating and overheating so much so
       21    where they're stripping clothing to actually cool
       22    off.    I don't really know how -- I would say
       23    abnormally strong and high tolerance for pain.
       24           Q.    Would you agree with me that based on your
       25    training and experience as a law enforcement


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        1    officer, that someone exhibiting signs and symptoms
        2    of excited delirium is classified as a medical
        3    emergency?
        4                 MS. BARRANCO:     Object to the form.       Go
        5          ahead.
        6          A.     Yeah, there is definitely a reason behind
        7    it, yes, sir.
        8       BY MR. HECHT:
        9          Q.     So you would agree with me excited
       10    delirium is classified as a medical emergency?
       11                 MS. BARRANCO:     Object to the form.       Go
       12          ahead.
       13          A.     Yes, sir.
       14       BY MR. HECHT:
       15          Q.     If you came in contact with an individual
       16    who you believed to be experiencing -- strike that.
       17                 If you came in contact with an individual
       18    who you believed to be experiencing excited
       19    delirium, would you contact a medical professional?
       20                 MS. BARRANCO:     Object to the form.
       21          A.     Absolutely.
       22       BY MR. HECHT:
       23          Q.     And why is that?
       24          A.     Because the person needs medical help.
       25          Q.     Based on your training and experience, if


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        1    you came in contact with an individual who was
        2    exhibiting the signs and symptoms of excited
        3    delirium, and that person was not being Baker Acted,
        4    and was not going to be transported in an ambulance,
        5    would you place that individual in handcuffs?
        6                 MS. BARRANCO:     Object to the form.       Go
        7          ahead.
        8          A.     If I was transporting the individual?
        9       BY MR. HECHT:
       10          Q.     If you were not.
       11          A.     If I was not transporting an individual.
       12    It depends on the actions of the people, if I felt
       13    they were a danger to myself, themself, or the
       14    public at large, then, yes.
       15       BY MR. HECHT:
       16          Q.     If you came in contact with an individual
       17    who was exhibiting the signs and symptoms of excited
       18    delirium, that person was not being Baker Acted, and
       19    was not being transported in the ambulance, and did
       20    not commit a crime, would you place that individual
       21    in handcuffs?
       22                 MS. BARRANCO:     Object to the form.       Go
       23          ahead.
       24          A.     Yes, sir, I would stand by the original
       25    answer.    If I felt they were a danger to themself,


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        1    myself, or the general safety of the public, then
        2    yes.
        3       BY MR. HECHT:
        4           Q.    And assuming that you believed that that
        5    individual was a danger to yourself or others, would
        6    you call a medical professional prior to placing
        7    them in handcuffs or after?
        8                 MS. BARRANCO:     Object to the form.       Go
        9           ahead.
       10           A.    It depends on the situation.         If there is
       11    time to call, there is time to call.           If not, you
       12    call when everything is secure.          Because rescue will
       13    not come to the scene anyway until the individual is
       14    secured, if it comes to that point.
       15       BY MR. HECHT:
       16           Q.    Okay, tell me about May 11, 2014, which is
       17    the day that you had interaction with my client,
       18    Tavares Docher.
       19                 What I'd like to know is:        What was your
       20    shift, to begin, and kind of take me through your
       21    interaction?
       22           A.    I don't actually remember what shift.            We
       23    were on rotating shifts back then, I believe, where
       24    we would work five -- five 8-hour days.            And one
       25    week we would work 7 in the morning until 3 in the


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        1    afternoon.     The next week you work 3 in the
        2    afternoon until 11 at might.
        3          Q.     So this was -- May 11, 2014 was a Sunday.
        4          A.     And because of that schedule, I would have
        5    to look back at a calendar on my old schedule to see
        6    exactly what shift I was on.
        7          Q.     Okay, fair enough.      Tell me about what you
        8    recall regarding when you came to the CVS.
        9          A.     I believe the call went out as a hang-up
       10    from inside the CVS.        And I thought something was
       11    said about someone thought they were trying to be
       12    kidnapped.
       13                 When I arrived at CVS, Detective -- I'm
       14    sorry -- Deputy Mangrum, and Deputy Robinson who was
       15    being trained by Deputy Mangrum, were already on
       16    scene.     They had already made contact with Tavares.
       17    I don't know if they approached him, he approached
       18    them.
       19                 As I drove up, I got out of my car and
       20    started walking up to them; also I know Tavares had
       21    a screwdriver in his hand.         And Deputy Mangrum and I
       22    were asking him to put the screwdriver down, which
       23    eventually he did.       He placed it on the ground, and
       24    I kind of walked over and kicked it out of arm's
       25    reach.     We determined he was the one -- that he was


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        1    inside -- I guess is it a CVS?
        2          Q.     Yes, sir.
        3          A.     He was inside a CVS and called from inside
        4    and hung up and was talking about somebody that was
        5    trying to kidnap him or something like that.
        6                 If I remember correctly, the manager of
        7    the store was standing outside when we had our
        8    initial contact with Tavares.          So we began talking
        9    to him to see what was going on.          He could answer --
       10    he gave us his name, date of birth, and where he
       11    lived.     He knew that.
       12                 We asked him why he had the screwdriver.
       13    And he said, "To protect himself."           We were trying
       14    to find out who he was trying to protect himself
       15    from.    And he said, "The Arabs."        And we said, "What
       16    Arabs are trying to bother you?"          He said, "Not
       17    Arabs; it's Arabs."       I said, "Okay.      Why do the
       18    Arabs want to hurt you?"        He said, "Because I saw
       19    them hide the body and I know where they dumped it
       20    at up here in St. Lucie County."          I said, "Okay."
       21    We started talking to him, and he was giving all
       22    kinds of statements about being followed by black
       23    vans and black helicopters.         And that -- I guess he
       24    was staying -- from what I gathered from the
       25    conversation, he was staying at his aunt's house in


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        1    Port St. Lucie.      He did tell us he was a registered
        2    sex offender out of Fort Lauderdale -- Broward
        3    County, I believe.       We asked him why he was up here.
        4    He said he had to do something with court.             I don't
        5    remember ever verifying that because of what
        6    happened.     So I asked him who drove him up here.           He
        7    said his mother drove him up here and left.             And I
        8    remember asking him where his family was he was
        9    staying with, and he said, he didn't know.
       10                 He would go from having a normal
       11    conversation with us to -- at one point there is a
       12    small hedge on the south side of the parking lot,
       13    and on the other side of that parking lot is a
       14    sidewalk and Prima Vista Boulevard.           And I remember
       15    at one point he looked behind the hedge; he said,
       16    "There they go right there."         And there was nobody
       17    there.    He did say he had been drinking.          We asked
       18    him if he had taken any medications.           And he said he
       19    did not take medications, from what I remember.
       20                 So I asked him if he had taken any kind of
       21    illegal drugs.      I told him he wasn't in trouble if
       22    he did, we just need to know.          And he said he didn't
       23    take any.     I think he said it was Natural Ice.           He
       24    said he had a couple of Natural Ices.
       25                 You know, at first when we were dealing


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        1    with him it was hard, because he could answer --
        2    quite clearly he could answer what day it was, the
        3    year.    He knew who was president.         He knew who he
        4    was.    He knew his date of birth.        He knew his
        5    information.      We carried on a conversation to
        6    determine if we were going to Baker Act him, or if
        7    he was just on a binge, basically intoxicated.
        8                 The more we talked to him, the more he had
        9    the little episodes where he would see things that
       10    weren't there, like with the hedge, and he said a
       11    black van was parked across the street -- I believe
       12    at one point that was watching him.
       13                 And right before we went to put the
       14    handcuffs on him to secure him, because we were
       15    going to give him a Baker Act.          The conversation I
       16    was having with him was, I believe he needed help,
       17    and he was worried about going to jail.            And right
       18    before we put the handcuffs on him, he looked up,
       19    and there was a blank sky, and he said the Seal Team
       20    Six was in the helicopter up there watching him.
       21    Deputy Mangrum and I talked to him, and he actually
       22    came to a state where he was carrying on a
       23    conversation and he said, "Yeah, you know, I
       24    probably need to get help.         I'm not in trouble,
       25    right?"    I said, "No, sir, you're not in trouble."


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        1                 I did explain to him, in order to
        2    transport him to drive my car we had to put
        3    handcuffs on him because that's policy.            And so we
        4    placed the handcuffs on him and we walked him to the
        5    back of my patrol car.
        6          Q.     All right.     Let me stop you there.       When
        7    you arrived on scene, is it correct that Deputy
        8    Mangrum and Deputy Robinson were already speaking
        9    with Tavares?
       10          A.     Yes.
       11          Q.     And when you arrived, did it appear to you
       12    that Deputy Robinson or Deputy Mangrum were in fear
       13    of their life?
       14                 MS. BARRANCO:     Object to the form.       Go
       15          ahead.
       16          A.     I don't know what they were thinking.            But
       17    like I said, I walked up, he was holding a
       18    screwdriver, being animated.         As he was talking,
       19    Tavares Docher was being very animated with his
       20    hands as he was talking.
       21       BY MR. HECHT:
       22          Q.     Based upon your training and experience as
       23    a law enforcement officer, aren't you trained to
       24    identify if an individual is a threat to you or
       25    other officers?


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        1                 MS. BARRANCO:     Object to the form.       Go
        2          ahead.
        3          A.     As best as we can, yes.
        4       BY MR. HECHT:
        5          Q.     And when you arrived on scene, did you
        6    quickly exit out of your vehicle to assist Deputy
        7    Mangrum and Robinson?
        8          A.     I wasn't running up there.        But yes, sir,
        9    I parked my car and walked up there.
       10          Q.     And when you arrived, did you believe that
       11    at that time during the conversation that Deputy
       12    Robinson and Deputy Mangrum were having with Tavares
       13    Docher, that it appeared to you that Deputy Robinson
       14    and Mangrum were in fear of their life?
       15                 MS. BARRANCO:     Object to the form.
       16          A.     I would have to ask them.        But my concern
       17    was the screwdriver in his hand and that we were
       18    within 6 to 12 feet of Mr. Docher -- of Tavares.
       19       BY MR. HECHT:
       20          Q.     And I certainly did ask Deputy Robinson
       21    about whether he was in fear for his life, and I
       22    certainly will ask Deputy Mangrum.
       23                 But my question for you is:         Did it appear
       24    to you that those two officers when you initially
       25    arrived were in fear for their lives based upon the


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        1    interaction that you saw them having with Tavares
        2    Docher?
        3          A.     I don't know what their fears or concerns
        4    were.    Like I said, I saw somebody with a weapon in
        5    their hand, and that concerned me to try to get him
        6    to drop that screwdriver.
        7          Q.     Did it appear to you when you arrived on
        8    scene that Tavares Docher was threatening Deputy
        9    Mangrum and Deputy Robinson with that screwdriver?
       10          A.     It did not appear that he was threatening
       11    anybody.     But like I said, with that close distance,
       12    and the way he was being animated, and the
       13    screwdriver in his hand, it could have easily turned
       14    into something that would have very much concerned
       15    me, which is why we try to deescalate before it
       16    escalates.
       17          Q.     And I understand there is many
       18    possibilities that were going through your mind.
       19    But my specific question is:         When you arrived on
       20    scene, did it appear to you that Tavares Docher was
       21    threatening Deputy Robinson or Deputy Mangrum with
       22    that screwdriver?
       23                 MS. BARRANCO:     Object to the form.       Go
       24          ahead.
       25          A.     No, sir, it's not like he had it raised


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        1    above his head, you know, in a manner to strike
        2    them.    It was just a concern because it was his
        3    actions, the animation, and the reason why we got
        4    the call, the hang-up, somebody accusing of being
        5    kidnapped, and close proximity with something that
        6    could be used as a deadly weapon.
        7       BY MR. HECHT:
        8          Q.     When you approached Deputy Mangrum and
        9    Deputy Robinson, what was the first thing that you
       10    did when you approached those two officers?
       11          A.     I think the first thing I did -- I mean, I
       12    can't be 100 percent sure -- my main concern was
       13    just talking to Tavares.        I had him drop the
       14    screwdriver.      I believe Deputy Mangrum was already
       15    talking to him about it.
       16          Q.     Did he drop the screwdriver?
       17          A.     After a few moments, yes, he did.
       18          Q.     At that point were you in fear for your
       19    life?
       20          A.     No, sir.
       21          Q.     During your initial interaction with
       22    Tavares Docher in the parking lot of CVS, did you
       23    ever identify to yourself whether Tavares Docher was
       24    experiencing excited delirium?
       25          A.     I mean, honestly, he gave some symptoms


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        1    that could have been given as that.           But in my
        2    experience I've never seen anybody go up and down
        3    that way, so it was hard for me to tell on the
        4    limited interaction we had.
        5          Q.     Did you ever make a determination during
        6    this entire interaction that you spent with Tavares
        7    Docher whether he was experiencing excited delirium?
        8          A.     I never made a determination, no, sir.
        9          Q.     Why not?
       10          A.     I honestly -- when he started talking
       11    about delusionary persons, and items in the area,
       12    and the paranoia, I honestly felt like he just
       13    needed help.
       14          Q.     Prior to Tavares Docher being placed in
       15    handcuffs, did you ever fear for your life?
       16          A.     No.
       17                 MS. BARRANCO:     Object.
       18          A.     No, I did not fear for my life.         But you
       19    always have a concern, especially dealing with
       20    somebody that you are having indications they may
       21    have -- they may be mentally unstable, or be having
       22    an episode of some sort, that you're always on your
       23    guard.
       24       BY MR. HECHT:
       25          Q.     And did you make a determination if


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        1    Tavares Docher was having any sort of mental health
        2    concern at that period of time when you initially
        3    made contact with him?
        4                 MS. BARRANCO:     Object to the form.       Go
        5          ahead.
        6          A.     After the initial contact, I believe he
        7    was just drunk.      After speaking to him, I believe he
        8    was having some sort of mental issue and that he
        9    needed help.
       10       BY MR. HECHT:
       11          Q.     Did you contact an ambulance or a medical
       12    health professional after you determined that he
       13    needed help?
       14          A.     No, sir.
       15          Q.     Why not?
       16          A.     Because as of normal dealing with somebody
       17    that we're pretty much determined that we're Baker
       18    Acting, we transport, perform a law enforcement's
       19    Baker Act, transport them to the nearest receiving
       20    facility.
       21          Q.     So you did make a determination you were
       22    going to Baker Act Tavares Docher?
       23          A.     That was my recollection of what we did.
       24    Because I remember having a conversation with him,
       25    as I was putting the handcuffs on him at the back of


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        1    Deputy Mangrum's car, that he was worried about
        2    going to jail.      And I told him he was not going to
        3    go to jail.     I told him, I think he needed help, so
        4    we were going to take him to see a doctor.
        5          Q.     Do you know why -- in the police report it
        6    states that Deputy Newman also said Docher was able
        7    to say who and where he was.         Therefore, they did
        8    not see Baker Act as a means to the end?
        9          A.     I did not write that report, and I did not
       10    make that determination to arrest Tavares on that
       11    incident.     I never wrote a report.        Those decisions
       12    were made after the fact.
       13                 And Deputy Mangrum and I were very adamant
       14    that at that point when we put handcuffs on
       15    Mr. Docher, he was going to go to a Baker Act
       16    facility.     Like I said at the beginning of the
       17    initial contact, we both thought he was just drunk.
       18    But after talking with him for a few moments, he --
       19    it was honest -- it was plain to see he needed some
       20    help.
       21          Q.     So is it your position that the report
       22    where it states:       "They did not see Baker Act as a
       23    means to the end," that that is an incorrect
       24    statement?
       25                 MS. BARRANCO:     Object to the form.       Go


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        1          ahead.
        2          A.     I don't know why it was written that way.
        3    That was a report written by another deputy that was
        4    not on scene, and I'm sure he got the facts
        5    secondhand.
        6                 So like I said, the determination to file
        7    an arrest report and all that was not --
        8       BY MR. HECHT:
        9          Q.     Would you agree with me that the statement
       10    regarding not to Baker Act Tavares Docher is not a
       11    true statement?
       12                 MS. BARRANCO:     Object to the form.       Go
       13          ahead.
       14          A.     Like I said before, yes, initially, I
       15    would say he was.       But after dealing with him, he
       16    was a Baker Act.
       17       BY MR. HECHT:
       18          Q.     Prior to you handcuffing Tavares Docher,
       19    did you believe that Tavares Docher was exhibiting a
       20    level of force whereby it would be necessary to
       21    justify the use of deadly force?
       22          A.     Prior to handcuffing?
       23          Q.     Yes, sir.
       24          A.     No, sir, because we didn't use deadly
       25    force.


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        1          Q.     I understand.     So was it you that made the
        2    determination that you would Baker Act Tavares
        3    Docher?
        4          A.     If I recall correctly, like I said, this
        5    has been a long time, I believe that Detective
        6    Mangrum and I kind of had like a little sidebar to
        7    each other, while talking with him, that we were
        8    trying to see what we wanted to do.           I think we both
        9    came to the determination that after talking with
       10    him, and him talking about that hallucinations, and
       11    things like that, that we really met Baker Act, and
       12    we were going to Baker Act him.
       13          Q.     Where were you planning on taking him?
       14          A.     At that point it was either going to be
       15    New Horizons, or I always mess up the name,
       16    St. Lucie Hospital on Walton Road.           I believe I was
       17    going to take him to New Horizons.           At that point it
       18    would have been closer than driving down Walton
       19    Road.
       20          Q.     And is it correct that Tavares Docher
       21    actually was in agreement with you to be Baker
       22    Acted?
       23          A.     Yes.
       24          Q.     And he specifically said to you, "I need
       25    to get help"?


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        1          A.     Well, I told him I need -- I thought, I
        2    believed he needed to get help, and he agreed that
        3    he would go see a doctor.
        4          Q.     And what was his demeanor like at that
        5    point in time?
        6          A.     He had -- he was not incoherent or, you
        7    know, being as animated as he was.
        8          Q.     Did you feel that he was a threat to you
        9    at that time right before you handcuffed him?
       10          A.     Not -- how would I say this?         Because of
       11    his actions earlier, I did not want to let my guard
       12    down, but at the same time I didn't think that he
       13    was going to, you know, fight, or be a problem, or
       14    -- but like I said earlier, your guard is still up.
       15          Q.     And you placed him in handcuffs, correct?
       16          A.     Yes, sir.
       17          Q.     Behind his back?
       18          A.     Yes, sir.
       19          Q.     And why did you place him in handcuffs
       20    behind his back?
       21          A.     Because it was our policy that we
       22    transport anybody in our vehicle to, especially a
       23    Baker Act or anything like that, that they are
       24    handcuffed in the back before they are placed in the
       25    back of your patrol car.


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        1          Q.     Once you placed Tavares Docher in
        2    handcuffs behind his back, was he in police custody?
        3          A.     Yes, sir.
        4          Q.     Was he arrested at that point in time?
        5          A.     No, he was not arrested.
        6          Q.     Was he free to leave at that point in
        7    time.
        8          A.     He was the subject of the law enforcement
        9    Baker Act.
       10          Q.     Does that mean that he's free to leave?
       11          A.     No, sir.
       12          Q.     So if Tavares Docher, after being
       13    handcuffed behind his back said to you, "I'm no
       14    longer in agreement with this.          I do not want to be
       15    Baker Acted," he would not have been free to leave,
       16    correct?
       17                 MS. BARRANCO:     Object to the form.       Go
       18          ahead.
       19          A.     No, he would not.
       20       BY MR. HECHT:
       21          Q.     At that point in time, had you placed
       22    Tavares Docher under arrest for disorderly
       23    intoxication?
       24          A.     I don't believe I ever placed him under
       25    arrest for any offense.        The handcuffs went on when


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        1    we decided he was going to be -- at the end when we
        2    determined he met criteria for Baker Act.
        3          Q.     I just want to be clear.        You keep saying
        4    "the end."     I know there was a struggle that ensued.
        5    And my questioning is not yet there.           We're still at
        6    the point when you're putting the handcuffs on him.
        7    Do you understand that?
        8          A.     Yes, sir.    I meant at the end of our
        9    interview process with him.         I should clarify that.
       10    I'm sorry.
       11          Q.     Okay.
       12          A.     When we were done talking to him, and our
       13    interview process was over, we determined that he
       14    was not disorderly, that he was actually -- he
       15    needed help.
       16          Q.     All right.     So it's your testimony here
       17    today that when you placed the handcuffs behind his
       18    back and were going to put him in the police car,
       19    that you had not arrested him for disorderly
       20    intoxication or disorderly conduct, correct?
       21          A.     No, sir.
       22          Q.     In fact, you had not arrested him for
       23    anything, correct?
       24          A.     No, sir.
       25          Q.     If Deputy Robinson had stated that you


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        1    placed him under arrest at that point for disorderly
        2    conduct, would that be incorrect?
        3                 MS. BARRANCO:     Object to the form.       Go
        4           ahead.
        5           A.    I honestly don't know because I -- like I
        6    said, Deputy Mangrum and I were speaking about what
        7    we were going to do with Tavares, whether it was
        8    arrest or Baker Act.        We decided on Baker Act.
        9    Calvin, Deputy Robinson, was pretty much watching
       10    and paying attention to Tavares while we stepped off
       11    to the side a little bit to discuss what we were
       12    going to do.      He may have thought we were arresting
       13    him.
       14       BY MR. HECHT:
       15           Q.    According to the sheriff's report, you
       16    placed Tavares under arrest for disorderly
       17    intoxication.      Are you saying that again that is an
       18    incorrect statement?
       19                 MS. BARRANCO:     Object to the form.       Go
       20           ahead.
       21           A.    Yes, sir, I would have to agree that's
       22    incorrect.
       23       BY MR. HECHT:
       24           Q.    Do you ever review the officer narrative
       25    reports at the conclusion of an arrest?


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        1          A.     On my own, yes, I do.
        2          Q.     Did you ever read the St. Lucie County
        3    Sheriff's Office incident report regarding this
        4    incident?
        5          A.     Honestly, no, I have not.
        6          Q.     If you saw any misnomers or any incorrect
        7    information after your involvement with Tavares
        8    Docher on May 11, 2014, would you have brought that
        9    to anyone's attention?
       10                 MS. BARRANCO:     Object to the form.       Go
       11          ahead.
       12          A.     If I had read and seen inconsistencies,
       13    yes, I would have.
       14       BY MR. HECHT:
       15          Q.     And as part of your customs, policy, and
       16    practices at the St. Lucie County Sheriff's Office,
       17    after there is an incident report written, do you
       18    read those?
       19                 MS. BARRANCO:     Object to the form.       Go
       20          ahead.
       21          A.     If I'm not the reporting officer -- I'm
       22    not a supervisor.       I don't read everybody else's
       23    reports.
       24       BY MR. HECHT:
       25          Q.     Did you write a report in this case?


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        1          A.     No, sir, I did not.
        2          Q.     Were you the arresting officer in this
        3    case?
        4          A.     I did not make an arrest.
        5          Q.     On May 11, 2014, was Tavares Docher at any
        6    point arrested for anything?
        7                 MS. BARRANCO:     Object to the form.       Go
        8          ahead.
        9          A.     Not by me, sir.
       10       BY MR. HECHT:
       11          Q.     So you never placed him under arrest for
       12    resisting, or battery on a law enforcement officer,
       13    or aggravated assault, or anything like that?
       14          A.     I never filed the charges on Tavares.
       15          Q.     All right.     So once Tavares Docher was in
       16    handcuffs behind his back, did you escort him to the
       17    police car?
       18          A.     Yes, sir.
       19          Q.     And whose police car were you escorting
       20    him to?
       21          A.     To my vehicle.
       22          Q.     And did you have the assistance of Deputy
       23    Mangrum or Deputy Robinson at that point in time?
       24          A.     They both walked over with me.
       25          Q.     So tell me what happened as you escorted


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        1    Tavares Docher to your car?
        2           A.    They walked him over to my car.         I had to
        3    unlock my vehicle, so Deputy Mangrum and Deputy
        4    Robinson stood with him at the back door of my car
        5    while I unlocked my car.        I walked around, I opened
        6    the door on the back passenger's side.            I told
        7    Tavares, you know, sit down.         We're going to get
        8    going.      And I told him the same thing I tell
        9    everybody:     It's easier if you sit down basically
       10    with your butt into the car first, and then pick
       11    your feet up and slide your feet in.           So since
       12    they're handcuffed, they don't fall over or
       13    anything.
       14                 He sat down with his -- facing out of the
       15    car like I instructed him to do, and then he just
       16    sat there for a minute.        And I said, "Okay, you got
       17    to put your feet in the car so we can go."             And he
       18    looked at all three of us, glanced around at all
       19    three of us.      And I said, "Tavares, you got to put
       20    your feet in the car."        And he jumped out of the car
       21    and was trying to bite, throwing his elbows around,
       22    and tried to -- and basically plowed through all
       23    three of us as he tried to run across the parking
       24    lot.
       25           Q.    When he ran, how far did he get in the


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        1    parking lot?
        2          A.     My estimation:     15, 20 feet.      Without
        3    measuring, I couldn't be exact.          That was my
        4    estimation on that night.
        5          Q.     And at this point in time, were the only
        6    officers on scene you, Deputy Robinson, Deputy
        7    Mangrum?
        8          A.     At that point yes, sir.
        9          Q.     What happened after Tavares Docher ran
       10    this approximately 15 to 20 feet?
       11          A.     He jumped out of the back of the car
       12    trying to bite at us and wound up elbowing me -- I
       13    believe it was in the left eye.          We all three just
       14    initially grabbed him, and we were trying to play --
       15    I mean, I hate to say it, it was like "Keystone
       16    Kops" trying to catch up, trying to grab onto him
       17    getting him under control, and he's pulling us all
       18    across the parking lot.        And I don't know how, but
       19    we all -- after that initial surge, we all three hit
       20    the ground.     Actually, all four, including
       21    Mr. Docher.     So all four of us hit the ground.
       22          Q.     Okay.   What happened when all three of you
       23    were on the ground?
       24          A.     As soon as we hit the ground, I -- from
       25    what I remember, I was on his right side up by his


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        1    shoulders and head.       And I believe Deputy Mangrum
        2    was on the left side, pretty much in the same
        3    position.     And I know that when we fell to the
        4    ground I -- my chest was on his -- Tavares's back,
        5    his right side of his back.         I was not expecting him
        6    to go to the ground either.
        7                 When we hit the ground, everybody just
        8    kind of fell.      And immediately he was flexible
        9    enough that his hands were behind his back.             And he
       10    pulled his arm, I believe it was his right arm over,
       11    and the cuff slipped from his wrist almost up to his
       12    elbow.     And he just slid the cuff through his arm
       13    and put his hand underneath him and began to push
       14    himself up.
       15          Q.     And what happened after that?
       16          A.     We tried to pull his arms out from
       17    underneath -- his arm out from underneath him to get
       18    him back onto the ground so we could secure him to
       19    get him back to the vehicle.         And he was trying to
       20    push up with his shoulders and kicking his feet.              I
       21    was trying to basically hold him down.            His
       22    shoulders weren't working.         He was moving too much.
       23                 So I put his hand on his head, kind of
       24    like here by his ear (indicating), to hold him.
       25    When I did that, he was moving his head on his left


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        1    side on the ground.       And he -- I had gloves on at
        2    the time.     He bit my right hand where my thumb is,
        3    on the meat of my hand.        Because my hand was here on
        4    his head (indicating) when he bit me, that's when I
        5    gave one elbow -- it was just, I picked up my hand
        6    and I elbowed like that (indicating).            It was just
        7    that little motion there (indicating).
        8          Q.     Where did you elbow him?
        9          A.     Somewhere on the side of the head.
       10          Q.     And how many times during this struggle
       11    did you elbow him on the side of the head?
       12          A.     Twice.    He -- after I initially elbowed
       13    him, he looked towards Deputy Mangrum's side.               He
       14    turned his head to the left, and then he came back.
       15                 I again tried to apply pressure to hold
       16    him down.     He was still trying to bite me.          He
       17    almost bit me again, so I gave him the exact same
       18    technique, just a little short elbow, and told him
       19    to stop.     Deputy Mangrum was telling him, "Stop
       20    resisting."     And he was -- Tavares was yelling.
       21    Eventually we -- I mean, it was -- I don't know how
       22    long it was; we were able to kind of hold him down.
       23                 And as soon as other deputies started
       24    arriving, and I felt like the situation was under
       25    control, I remember going to my car, because I


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        1    remember seeing Tavares had blood on his face, and I
        2    got paper towels out of the car to clean him up,
        3    because I didn't want the blood getting into his
        4    eyes and stuff.
        5                 Rescue shortly arrived after that, and I
        6    don't know the name of the EMT worker.            But at that
        7    point we had gotten Tavares -- and I believe Deputy
        8    Mangrum rolled him into like a recovery position,
        9    which is on his side, and was holding him there, and
       10    that's when I was wiping the blood off of him.              And
       11    he was in that position, I believe, when the rescue
       12    came, and they were down kind of by his feet because
       13    we were up by his head still, and I believe Deputy
       14    Mangrum was holding him.        I was wiping his face
       15    trying to apply pressure, making sure everything was
       16    okay.
       17                 I believe the rescue worker put his med
       18    kit down by Tavares's feet, and he opened it up.
       19    And when he was going through it, the next thing I
       20    know Tavares kicked the rescue worker in the
       21    chest -- I believe it was his chest -- as he was
       22    squatted down.      Then they got up.       And then they
       23    came back and they had a shot.          And they
       24    administered the shot to his right hip -- I think it
       25    was -- his right buttock.


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        1                 MS. BARRANCO:     Just to clarify, you said,
        2          "they."     Who is "they"?
        3          A.     The rescue workers.       EMT.
        4                 MS. BARRANCO:     Thanks.
        5       BY MR. HECHT:
        6          Q.     And what happened after they injected him
        7    with the drug?
        8          A.     I had walked away at that point.          I saw a
        9    lot of commotion.       And I asked one of the rescue
       10    workers what was wrong.        And they said that he --
       11    that Tavares coded.       Which means that he had
       12    basically stopped breathing and gone into arrest,
       13    and that they were working on him.            They brought him
       14    into the back of the ambulance.          I believe they got
       15    him onto a gurney, or a stretcher, or whatever.
       16    They put him in the back and they were working on
       17    him, and that's when they left.          That was the last
       18    time that I had contact with him.
       19          Q.     You never went to the hospital?
       20          A.     I did go to the hospital.        But Tavares was
       21    already in a different room.         If I remember right,
       22    he was already in a different room; they had already
       23    brought him in.      And we just went there, the doctor
       24    looked at us and kicked us out, and we went to the
       25    station.


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        1                 MS. BARRANCO:     Let me clarify again.        The
        2          "we," who is the "we"?
        3          A.     Deputy Mangrum, Deputy Robinson, and
        4    myself.
        5                 MS. BARRANCO:     Thanks.
        6       BY MR. HECHT:
        7          Q.     Is it correct that during the entire
        8    struggle with Tavares, the only officers involved
        9    with that struggle were you, Deputy Mangrum, and
       10    Deputy Robinson?
       11          A.     Yes.   Like -- that's from what I saw, yes.
       12          Q.     Do you remember at some point in time
       13    during the struggle other officers arriving on
       14    scene?
       15          A.     Yes, I do, because that's when I went up
       16    to get paper towels.        I believe it was Deputy
       17    Alanjay (phonetic), arrived.         When the other people
       18    started arriving, and Tavares had kind of, I guess,
       19    fought himself out, because it's a big thing, I was
       20    tired.     That's when I saw an opportunity to go over
       21    and get paper towels and try to render aid.
       22          Q.     How tall are you, sir?
       23          A.     I'm 5-11.
       24          Q.     How much do you weigh?
       25          A.     I am 209 pounds.


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        1           Q.    On May 11, 2014 I assume you were the same
        2    height.
        3           A.    Yes.
        4           Q.    And do you recall what your weight was?
        5           A.    I think I was actually a little lighter.
        6    I think I was, like, 205.
        7           Q.    Tavares Docher, do you know how much he
        8    weighed in 2014?
        9           A.    I do not.
       10           Q.    Was he a big guy or a small guy?
       11           A.    He was, as far as I remember, just a
       12    normal guy.
       13           Q.    Approximately how much did he weigh?
       14           A.    Honestly I can't even remember.         I
       15    couldn't even take a guess.
       16           Q.    Is Deputy Sheriff Mangrum a big guy or a
       17    small guy?
       18           A.    He's a big guy.
       19           Q.    And when Tavares Docher ran from the
       20    police car, at that point in time were you in fear
       21    for your life?
       22           A.    Not for my life.      But the direction he was
       23    running was right into Prima Vista where traffic
       24    was.    And he was screaming stuff about "Don't let
       25    them kill me."      To me, I thought maybe he was having


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        1    another episode of seeing Arabs that were trying to
        2    kill him, or that he thought we were trying to take
        3    him to the Arabs -- I don't know what was going
        4    through his head.       All I know is that he was making
        5    a straight headway run, full gallop, with hands
        6    behind his back towards traffic.
        7          Q.     Tell me the direction that he was running
        8    when he got out of the police car?
        9          A.     South.
       10          Q.     And when he was running, the handcuffs
       11    were on him?
       12          A.     Yes.
       13          Q.     And he was cuffed behind his back?
       14          A.     Yes, sir.
       15          Q.     And is it your testimony that you, along
       16    with Deputy Robinson and Deputy Mangrum, had a
       17    difficult time controlling him?
       18          A.     Very.
       19          Q.     At any point in time during this struggle,
       20    were Tavares Docher's actions causing you to believe
       21    that it would be necessary for you to use deadly
       22    force in order to control yourself or him?
       23          A.     No, sir, which is why I did not use deadly
       24    force.
       25          Q.     And it's your testimony:        At no point


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        1    during your interaction with Tavares Docher
        2    on May 11, 2014, did you use excessive force.
        3          A.     No, sir.
        4          Q.     And is it your testimony here today that
        5    Deputy Mangrum and Deputy Robinson did not use
        6    excessive force against Tavares Docher?
        7          A.     With Calvin being at Tavares's feet, I did
        8    not even see what Calvin was doing.           I knew there
        9    was kicking going on and everything by Tavares.               And
       10    honestly, I paid attention to what I was doing.               I
       11    couldn't even tell you what was going on in the
       12    parking lot at that point.
       13          Q.     Did you violate any of St. Lucie County's
       14    policies, or procedures, or customs during your
       15    interaction with Tavares Docher on May 11, 2014?
       16                 MS. BARRANCO:     Object to the form.       Go
       17          ahead.
       18          A.     Not that I'm aware of, no, sir.
       19       BY MR. HECHT:
       20          Q.     Were you sanctioned or disciplined for
       21    anything that you did to Tavares Docher on May 11,
       22    2014?
       23          A.     No, sir.
       24          Q.     Did you ever say to Deputy Mangrum, or
       25    Deputy Robinson, to stop doing anything they were


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        1    doing during the struggle with Tavares Docher?
        2           A.    Not that I recall, no, sir.
        3           Q.    Did you ever see Deputy Robinson or Deputy
        4    Mangrum hitting, punching, striking Tavares Docher
        5    and say to him, "Don't do that"?
        6                 MS. BARRANCO:     Object to the form.       Go
        7           ahead.
        8           A.    Not that I recall, no, sir.
        9       BY MR. HECHT:
       10           Q.    Do you recall if Deputy Mangrum or Deputy
       11    Robinson said to you during the struggle with
       12    Tavares Docher, "Hey Deputy Newman, stop doing
       13    that"?
       14           A.    I don't remember hearing anything, no,
       15    sir.
       16           Q.    What did you review, if anything, prior to
       17    your deposition today?
       18           A.    The only thing I reviewed was my taped
       19    statement I gave to the detective that night, which
       20    I believe was Blanchford (phonetic).           And I watched
       21    a minute of the video and that was it.            I still have
       22    not read the arrest report.         I have still not read
       23    the report.
       24           Q.    Why not?
       25           A.    I just haven't.      I still haven't read the


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        1    report on the other case.
        2          Q.     I'm sorry, what other case are you
        3    referring to?
        4          A.     The one you brought up earlier with
        5    Mr. Hill.
        6          Q.     Did you ever strike Tavares Docher with a
        7    closed-fist punch?
        8          A.     No, I did not.
        9          Q.     Did you ever talk to the paramedic that
       10    injected Tavares with the medication?
       11          A.     I don't remember any meaningful
       12    conversation.      I think I might have asked him, Are
       13    you okay, or something like that.           I don't think we
       14    really had a conversation.
       15          Q.     When the medic -- strike that.
       16                 When the paramedic who arrived on scene --
       17    strike that.
       18                 The paramedic who arrived on scene, did he
       19    approach you and have a conversation with you prior
       20    to him administering the medication to Tavares?
       21          A.     I don't know who from rescue it was, as
       22    they arrive in a group.        But I believe that we told
       23    somebody from rescue that, you know, he had been
       24    drinking.     We don't know if anything else was in his
       25    system.    He was combative at that point.          We told


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        1    them the whole situation and the gist.            Basically,
        2    he was okay.      And then he became combative.         He had
        3    some alcohol he admitted to earlier, but we didn't
        4    know anything about any drugs.
        5          Q.     Did you tell the paramedic who injected
        6    Tavares with the drug that he had been drinking
        7    alcohol?
        8          A.     I honestly couldn't tell you who from
        9    rescue I told that to that night.           There was three
       10    or four of them that arrived on scene at the same
       11    time.    I know they tell each other when they
       12    disperse the information.         My job was to let them
       13    know that he had been drinking.
       14          Q.     Just so I'm clear:      You did tell an
       15    employee from the St. Lucie County Fire District
       16    prior to the administration of the drug that Tavares
       17    had been drinking alcohol, correct?
       18          A.     I believe we -- yes, I believe we said
       19    that to somebody there.
       20          Q.     You just said, "We told him."         I want to
       21    be specific.
       22          A.     Deputy Mangrum, Deputy Robinson, and I.           I
       23    remember we were basically telling rescue --
       24    basically, if I remember correctly, they were
       25    walking up.     We were just shouting to them, Hey,


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        1    this is what we have, as they're coming up, so they
        2    know what they're going to deal with when they get
        3    to the patient.
        4          Q.     And is it your testimony that you also
        5    told paramedics employed by the St. Lucie County
        6    Fire District that Tavares Docher told you that he
        7    was not on any medications?
        8          A.     I don't remember if I brought up
        9    medications.      I know we brought up alcohol.         And I
       10    remember not saying -- saying we didn't know if he
       11    was on anything else.
       12          Q.     You told me that you spoke to Tavares
       13    Docher prior to putting him in your police car,
       14    correct?
       15          A.     Yes.
       16          Q.     And you told me that you asked him if he
       17    was on any illegal drugs, correct?
       18          A.     Yes.
       19          Q.     And he told you, "no," correct?
       20          A.     Yes.
       21          Q.     Did you relay that information to a
       22    paramedic, that Tavares Docher told you that he was
       23    not on any illegal drugs?
       24          A.     I would have told them exactly what
       25    Tavares told me.       That he said he wasn't doing any


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        1    drugs.     That doesn't mean he wasn't, because we
        2    weren't -- I just let them know what he told us.
        3          Q.     You would have told the paramedics exactly
        4    what Tavares Docher told you, correct?
        5          A.     Yes, sir.
        6          Q.     You would have told the paramedics he was
        7    drinking alcohol, correct?
        8          A.     Yes.
        9          Q.     And you would have told the paramedics
       10    that he was not on any medication, correct?
       11          A.     I probably would have, yes.
       12          Q.     And you would have told the paramedics
       13    that he told you that he was not on any illegal
       14    drugs, correct?
       15          A.     Yes.
       16          Q.     You would agree with me that in that
       17    minute video that you saw, that there was a
       18    significant struggle between you, Deputy Mangrum,
       19    Deputy Robinson, and Tavares Docher, correct?
       20                 MS. BARRANCO:     Object to the form.       Go
       21          ahead.
       22          A.     That there was a struggle going on?          Yes.
       23       BY MR. HECHT:
       24          Q.     Were you able to simply lift Tavares off
       25    the ground while he was still handcuffed behind his


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        1    back at any point in time during the struggle?
        2          A.     Not that I recall.      And I wouldn't have
        3    lifted him up anyway because that would have been --
        4    he could have gotten back and started running again.
        5    We're taught that when we want to secure somebody,
        6    basically until we could get help, they're on the
        7    ground so they can't run, they can't get away, they
        8    can't hurt anybody else.
        9          Q.     Approximately how much time from the time
       10    when Tavares fell to the ground until he was
       11    administered the Ativan was he lying face down with
       12    his stomach on the pavement?
       13          A.     I couldn't tell you.       I don't know how
       14    long that video was.        And maybe the struggle was,
       15    like, another minute before that.           You even see in
       16    the video that, I believe they roll him to his side
       17    in the recovery.       I honestly couldn't tell you
       18    because I don't even know how long the fight lasted.
       19          Q.     Prior to the paramedic injecting Tavares
       20    in the buttocks, was Tavares out of breath?
       21          A.     I honestly don't recall.
       22          Q.     When you watched the video, did it appear
       23    to you that Tavares Docher was struggling to
       24    breathe?
       25          A.     I don't -- it did not appear he was


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        1    struggling to breathe because he was still talking
        2    and yelling on the video.
        3                 MR. HECHT:     All right.    Why don't we take
        4          a break?      I'm going to put on my -- turn on my
        5          computer and ask you a couple of questions from
        6          the video.     Okay.    All right.
        7                 (Recess 11:23 a.m. until 11:32 a.m.)
        8                 (Video played.)
        9                 MR. HECHT:     I'm going to ask you some
       10          questions.     You may sit down.
       11       BY MR. HECHT:
       12          Q.     Deputy Newman, based upon the video that I
       13    just showed you, which is a minute and nineteen
       14    seconds, that shows you, Deputy Mangrum, and Deputy
       15    Robinson on top of Tavares Docher, is there anything
       16    in this video that you believe violates any of St.
       17    Lucie County Sheriff's Office official policies?
       18                 MS. BARRANCO:     Object to the form.       Go
       19          ahead.
       20          A.     Not that I'm aware of.
       21       BY MR. HECHT:
       22          Q.     Did you hear in this video Deputy Mangrum,
       23    yourself, and Deputy Robinson telling Tavares to
       24    stop resisting?
       25          A.     Yes.


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        1           Q.    And do you see in this video Tavares
        2    Docher resisting the three of you?
        3           A.    At that point he was just basically moving
        4    his legs and kicking his legs still.           I don't know
        5    what Deputy Robinson was dealing with.            As you can
        6    see in the video, I got up and was trying to assess
        7    the situation.      I got on the radio and I believe I
        8    heard Deputy Mangrum getting on the radio, too,
        9    calling for rescue and giving the injuries that
       10    Mr. Docher had sustained.         And that's when you see
       11    me going over to the car to get the paper towels.
       12           Q.    During this minute and nineteen second
       13    video, do you see Tavares Docher resisting you three
       14    officers?
       15                 MS. BARRANCO:     Object to the form.       Go
       16           ahead.
       17           A.    I know I was there and he was still
       18    struggling.     What that video shows is, really at an
       19    angle where you can't really see him moving around a
       20    lot.    And there was still a lot of pulling and
       21    pushing going on between the three of us and him.
       22    And like I said, once I felt I was able to, that's
       23    when I got up.
       24       BY MR. HECHT:
       25           Q.    During this minute and nineteen second


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        1    video, do you see Tavares Docher resisting you three
        2    officers?
        3                 MS. BARRANCO:     Object to the form.       Go
        4          ahead.
        5          A.     I know he was resisting us.
        6       BY MR. HECHT:
        7          Q.     During this minute and nineteen second
        8    video, does this video show us Tavares Docher
        9    resisting arrest?
       10          A.     That is not the entire event, no, sir.
       11          Q.     Well, during this minute and nineteen
       12    second video, was Tavares Docher under arrest?
       13          A.     At that point I still had not arrested
       14    anybody.     That was just a concern.        Me, myself, I
       15    know I didn't want him running into traffic.             He was
       16    Baker Acted.      In my opinion he was going to be Baker
       17    Acted.     He was obviously seeing things and
       18    handcuffed, talking craziness, honestly, and running
       19    headlong into traffic.
       20          Q.     So during this minute and nineteen second
       21    video, Tavares Docher was not under arrest, correct?
       22          A.     Under arrest?     No, I had still not
       23    arrested.     Would I have charged him myself if things
       24    had not gone the way it did for resisting and trying
       25    to -- I might have.       But at that point I had not


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        1    made a decision to arrest anybody.           And he was
        2    still -- you know, he was still being Baker Acted at
        3    that point.
        4           Q.    So at this point in time Tavares Docher
        5    was in police custody, correct?
        6           A.    Yes, absolutely.
        7           Q.    And he was not free to leave?
        8           A.    No, sir.
        9           Q.    Why was it necessary for Deputy Mangrum to
       10    have his foot on what appears to be Tavares' neck or
       11    back; to have Deputy Robinson punching what appears
       12    to be his upper leg or hip.         Why was that necessary?
       13                 MS. BARRANCO:     Object to the form.       Go
       14           ahead.
       15           A.    You would have to ask them.         I do not know
       16    what they were feeling, was struggling with him.              I
       17    do not know what they were experiencing.            At that
       18    point I had disengaged and you would have to find
       19    out what they were dealing with.          I couldn't tell
       20    you.
       21       BY MR. HECHT:
       22           Q.    And if Tavares Docher was not under
       23    arrest, why was it necessary for you to give two
       24    elbow strikes to his head at this point in time?
       25                 MS. BARRANCO:     Object to the form.       Go


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        1          ahead.
        2          A.     Well, the first time he had bit me.          The
        3    second time he attempted to bite me.           Even though he
        4    was not under arrest, he still was in custody.              And
        5    even though it was a medical issue -- we don't carry
        6    Tasers.    And we still needed to gain compliance to
        7    get him treatment.       No receiving facility would take
        8    him like that.      Rescue would not treat him or assess
        9    him in the manner he was acting before when he was
       10    struggling with us.       So he had still had to be
       11    controlled.
       12       BY MR. HECHT:
       13          Q.     You see that puddle of blood under
       14    Tavares's face?
       15          A.     Yes, sir.
       16          Q.     How did that puddle of blood get there?
       17          A.     Honestly, I couldn't tell you.
       18          Q.     During this period of time that we see on
       19    the video, were you in fear for your life and your
       20    fellow officers' lives?
       21                 MS. BARRANCO:     Object to the form.       Go
       22          ahead.
       23          A.     No, sir.
       24       BY MR. HECHT:
       25          Q.     During this period of time that we see on


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        1    the video, were you in fear for Tavares Docher's
        2    life?
        3          A.     I did believe he was in a danger to
        4    himself still.
        5          Q.     And explain to me why Tavares Docher was a
        6    danger to himself when he was lying on the ground,
        7    handcuffed behind his back, with three officers on
        8    top of him?
        9                 MS. BARRANCO:     Object to the form.       Go
       10          ahead.
       11          A.     Because the only reason he was on the
       12    ground was because he was being restrained there.
       13    If left to his own devices, I really believed that
       14    he would run out into traffic and gotten hurt, or
       15    who knows what would have happened to him.
       16       BY MR. HECHT:
       17          Q.     Do you recall seeing Deputy Sheriff
       18    Courtemanche --
       19          A.     Courtemanche.
       20          Q.     -- on scene on May 11, 2014?
       21          A.     I know he was there, but I don't remember
       22    seeing him, no, sir.
       23          Q.     How do you know he was there?
       24          A.     Obviously he's been named; he said he was
       25    there.     I don't remember dealing with Detective


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        1    Courtemanche at any point.
        2          Q.     Do you recall seeing him on scene?
        3          A.     I might have.     Like I said, I had no
        4    interaction with him.
        5          Q.     Was he a supervisor on this day?
        6          A.     No, sir, not that I know of.
        7          Q.     On May 11, 2014, was Deputy Courtemanche a
        8    road patrol officer?
        9          A.     I believe he was a detective at the time.
       10          Q.     Did he have any sort of supervisory roles
       11    over you, Deputy Mangrum, or Deputy Robinson?
       12          A.     Not that I'm aware of, no, sir.
       13                 MR. HECHT:     All right.    I don't have any
       14          other questions.       Thanks.
       15                 MS. BARRANCO:     Does Julie have any
       16          questions?
       17                 MS. TYK:    Just a couple.
       18                           CROSS-EXAMINATION
       19       BY MS. TYK:
       20          Q.     I just have a couple of questions.          The
       21    one EMT paramedic, Jose Rosario, are you familiar
       22    with him personally?
       23          A.     No, ma'am.
       24          Q.     He's not a personal friend of yours?
       25          A.     No, ma'am.


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        1           Q.    Have you ever met Mr. Rosario prior
        2    to May 11, 2014, that you know of?
        3           A.    That I'm aware of, no.       I mean, I could
        4    have been on calls with him and just not recognized
        5    him.    It's not anybody that I know.
        6           Q.    Okay.   On May 11, 2014 when the paramedic
        7    EMTs arrived on the scene, did you have any
        8    conversations with them, instructing them or asking
        9    them to give Mr. Docher a shot so that he would stop
       10    speaking?
       11           A.    No, ma'am, I did not.
       12           Q.    To your knowledge, did anyone involved in
       13    law enforcement have any type of conversation like
       14    that with the paramedic EMTs?
       15           A.    Not that I'm aware of.
       16           Q.    When the paramedic EMTs arrived on scene,
       17    was Tavares Docher still screaming and yelling at
       18    that point?
       19           A.    He was still talking and yelling, yes.
       20    But he had -- from what I remember, when EMT
       21    arrived, he was on his side at that point.
       22           Q.    Do you know what he was saying when they
       23    arrived?
       24           A.    I don't remember.      No, ma'am.
       25                 MS. TYK:    That's all the questions I have.


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        1                 MS. BARRANCO:     And I have no questions.
        2          He'll read if it gets ordered.
        3                 MR. HECHT:     I will order.     I'll take a
        4          copy.
        5                 THE COURT REPORTER:       Ms. Tyk, do you want
        6          a copy of the deposition?
        7                 MS. TYK:    Yes, please.
        8                 (The proceedings concluded at 11:43 a.m.)
        9
       10
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                                  CERTIFICATE OF OATH


             STATE OF FLORIDA
             COUNTY OF PALM BEACH




                            I, the undersigned authority, certify
                 that CHRISTOPHER ERIK NEWMAN personally appeared
                 before me and was duly sworn on the 31st day of
                 May, 2017.
                            Signed this 1st day of June, 2017.




                                    ________________________________
                                    PATRICIA A. LANOSA, RPR, FPR, CSR
                                    Notary Public, State of Florida
                                    My Commission No. FF 169350
                                    Expires: 10/19/2018




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                                CERTIFICATE OF REPORTER


             STATE OF FLORIDA
             COUNTY OF PALM BEACH


                            I, PATRICIA A. LANOSA, Registered
                 Professional Reporter, do hereby certify that I
                 was authorized to and did stenographically report
                 the foregoing deposition of CHRISTOPHER ERIK
                 NEWMAN; Pages 1 through 76; that a review of the
                 transcript was requested; and that the transcript
                 is a true record of my stenographic notes.
                            I FURTHER CERTIFY that I am not a
                 relative, employee, attorney, or counsel of any
                 of the parties, nor am I a relative or employee
                 of any of the parties' attorneys or counsel
                 connected with the action, nor am I financially
                 interested in the action.
                            Dated this 1st day of June, 2017.


                                    ________________________________
                                    PATRICIA A. LANOSA, RPR, FPR, CSR




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             June 1, 2017
             PURDY, JOLLY, GIUFFREDA & BARRANCO, PA
             c/o Christopher Erik Newman
             2455 East Sunrise Boulevard, Suite 1216
             Fort Lauderdale, Florida 33304
             (954)462-3200
             ATTN: SUMMER BARRANCO, ESQUIRE

             Re: Docher v. Newman et al.
             Case No.: 2:16cv14413
             Please take notice that on the 31st day of May,
             2017, you gave your deposition in the above cause.
             At that time, you did not waive your signature.
             The above-addressed attorney has ordered a copy of
             this transcript and will make arrangements with you
             to read their copy. Please execute the Errata
             Sheet, which can be found at the back of the
             transcript, and have it returned to us for
             distribution to all parties.

             If you do not read and sign the deposition within
             thirty (30) days, the original, which has already
             been forwarded to the ordering attorney, may be
             filed with the Clerk of the Court.
             If you wish to waive your signature now, please sign
             your name in the blank at the bottom of this letter
             and return to the address listed below.
             Very truly yours,

             PATRICIA A. LANOSA, RPR, FPR, CSR
             Phipps Reporting, Inc.
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             West Palm Beach, Florida 33401
             I do hereby waive my signature.
             _______________________________
             CHRISTOPHER ERIK NEWMAN




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                           In Re: DOCHER V. NEWMAN ET AL.
                               Case No.: 2:16cv14413
                               CHRISTOPHER ERIK NEWMAN
                                     May 31, 2017


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             stated in it are true.
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